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                                                                                FILED
                                Bullion Shark LLC (Plaintiff)                   CLERK
                                                                              Box.com
               _______________________________________________________
                                                                             11/27/2023
                                              V.                        U.S. DISTRICT COURT
                          Flip A Coin Bullion LLC, Matthew forman, EASTERN DISTRICT OF NEW YORK
                     Christina Cappello, Jacob forman and Joseph Forman LONG ISLAND OFFICE
                                      (Defendant)
                ________________________________________________________


 Dear Judge Choudhury,


         We are Flip a Coin Bullion, the defendants on the referenced case. We are responding to
 the recent opposition the plaintiff, Bullion Shark had just filed. Joseph Forman was told that he
 was able to appear in court on December 21st. However, if he felt better and received clearance
 from the hospital then he would be able to appear in the hearing tomorrow November 28th 2023.
 Joseph is still having severe anxiety attacks and chest pains and never received clearance and for
 this reason he will appear on December 21st as stated. As for Jacob Forman, he is in New York
 attending one of his best friend's services after he hung himself the day before Thanksgiving.
 This is not a “stall tactic” as mentioned from the plaintiff. This shows the lack of empathy
 Bullion Shark has for others. Jacob Forman is an 18 year old kid who is already suffering from
 anxiety from this lawsuit and to have lost a best friend has put him over the edge.

 We are still asking for a motion for dismissal for Jacob Forman for tomorrow's hearing on
 November 28th. How can you ask someone who just lost a dear friend to appear in court via
 zoom just hours later?

 We greatly appreciate your response.
 Kindly,

 Flip A Coin Bullion LLC

 Matthew Frman

 Jacb Frman

 Christina Cappello

 Jseph Frman
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 CC:
 Bullion Shark LLC
 Kyle Monaghan esq
 Emanuel Kataev esq
